        Case:24-13394-JGR Doc#:125 Filed:12/09/24                    Entered:12/09/24 16:31:14 Page1 of 1


 tion to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO

   Debtor :     WESTERN RISE, INC.                              Case #:     24-13394-JGR


                                                                Chapter:    11, Subchapter V


Local Bankruptcy Form 9013-1.3
Movant’s Certificate of Non-Contested Matter and Request for Entry of Order
Complete applicable sections.

 Part 1 Certificate

On November 19, 2024, Western Rise, Inc. (the “Movant”), filed a motion or application pursuant to L.B.R. 2002-1 or
9013-1 entitled Motion to Approve Post-Petition Financing and Approivng Debtor-in-Possession Credit and Security
Agreement (the “Motion”) at docket no. 109. Movant hereby certifies that the following is true and correct:

     1. Service of the Motion, Notice, and Proposed Order were timely made on all parties against whom relief is sought
        and those otherwise entitled to service pursuant to the Federal Rules of Bankruptcy Procedure and the Court’s
        Local Rules as is shown on the Certificate of Service, L.B.F. 9013-1.2, previously filed with the Motion on
        November 19, 2024.
        a. Mailing or other service of the Notice was timely made on all other creditors and parties in interest pursuant to
            L.B.R. 2002-1 and 9013-1 (or in the manner permitted by Court order, a copy of which is attached), as is
            shown on the Certificate of Service, L.B.F. 9013-1.2, previously filed with the Notice on November 19, 2024.
     2. The docket numbers for each of the following relevant documents are:
        a. the Motion and all documents attached thereto and served therewith, docket no. 109
        b. the Notice, docket no. 110
        c. the Certificate of Service of the Motion and Notice, docket no. 111;
        d. the Proposed Order, docket No. 109.
     3. An objection to the Motion was filed by The S Group and later withdrawn.

Accordingly, Movant requests that the Court enter an order granting the requested relief.


 Part 2 Signature of Movant’s Attorney or Movant (if unrepresented)



Dated: December 9, 2024                                   Respectfully submitted,

                                                          By:     /s/Jonathan M. Dickey
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